            Case 6:21-cv-00474-AA                 Document 50-5            Filed 08/06/21          Page 1 of 15


                                       l.




                                                           .
538 Venard Rood · Clarks.Summit.Pennsylvania18411· Telephone: 717/ 587-1172· ANCHOREDIN THEWORD




      TO:     The Director,       Office    for Civil Rights

      FROM: Baptist        Bible College and School of Theology of PA

      RE:     Identification of the specific provisions.of  45 c.F.R.
              conflict with the specific religious tenets. of Baptist
                                                                                         part 86 which
                                                                                         Bible College
                                                                                                                          I
              and School of Theology of PA.                                                                                i
                                                                                                                          ..1
      86.15   Admissions
              (1)   Baptist      Bible College - admissions policies            of private       under-
                                                                                                                           I
                    graduate      institutions       are-exempt.
                                                                                                                           II
              (2)   School of Theology (Grad School) - 86.15 is inconsistent                       with the
                    religious      tenets   of this     institution.      We believe     that,   by divine

                    appointment,        there are some ministries         in the church which are
                                                                                                                           l
                    prohibited      to women. Such prohi.bitio!ls          do not imply any mental
                                                                                                                           \,
                    or spiritual       inferiority      on the part oi women, but are simply
                                                                                                                           l
                                                                                                                            I
                    part     of God's wise arrangements            for His people.     Womencannot

                    serve as preachers           or pastors,    and in areas of theological          instruc-
                    tion are to remain subordinate              to men (I Timothy 2:11-15;          Titus

                    l;S-9,      Bibl-e !eferonces).       There is no instance         of a woman preacher

                    or pastor      in the New Testament.            For these reasons,     since its      be-
                    &inning in. 1932, Baptist           Bible College and School of Theology does
                    not admit women as students· to prepare               them to become ministers          of
                    religion      or to enter upon some other religious              vocation,     or to prepare
                    them to teach theological            subjects.


                    With respect       to the above ministries          in the church which are prohibited
                    to women, the college            and School of Theology adhere to the position               of

                    tl1c   .General Association        of Reguiar Baptist     Churches,      by which 1·10 arc
                    approved.




   EXHIBIT E                                                                                                          1
      Case 6:21-cv-00474-AA                    Document 50-5              Filed 08/06/21            Page 2 of 15




                                                                                                         Page 2
   86.21 Admission,

   86.22 Preference       in Admissions,

   86.23 Recruitment:         Students           same as exemption request             in 86.15
   86.31   Education     Programs and Activities

           Baptis_t Bible College and_ School of Theology find 86. 31 (a) incon-

           sistent     with its    religious       tenets    regarding     the participation          of ·

           women in academic programs designed                 to train     preachers,     pastors,      or

           theological      teachers.

   86.34 Access to Course Offerings

           Baptist     _Bible College and School of Theology find 86. 34 inconsis-

           tent with its      religious        tenets   regarding    the participation         of

           women in classes        designed      to train    preachers,     pastors,     or theological
           teachers.
   86.51 Employment

           Baptist     B~ble College and School of Theology find 86.51 inconsistent

           with its    religious     tenets      regarding     the employment of women in areas

           of theological      instruction.

   86.SS Job Classification          and Structure

           Baptist     Bible College and School of Theology find 86.55 inconsistent

           with its    religious     tenets      regarding    the classification         of women in areas
           of theological      instruction.
                                                                                                                       l   l



                                                                    C
                                                              By     .    ,r..,1,]
                                                                   Dr. Ernest
                                                                   President




EXHIBIT E                                                                                                          2
             Case 6:21-cv-00474-AA      Document 50-5           Filed 08/06/21          Page 3 of 15


                                UNITED ST ATES OEPARTMENTOF EDUCATION
                            OFFICE OF THE ASSISTAl\"T SECRETARY FOR CIVIL RJGKTS




           Or. MarkJackson
           President
           Baptist Bible College and                                           -.-
             School of Theology
           538 VenardRoad
           Clarks Sunnit, Pennsylvania 18411
            Dear Dr. Jackson:
           The Office for Civil Rights of the Departmentof Education (OCR/ED)is in
           the process of clearing a backlog of requests for religious exemption from·
           Title IX of the Education Amendments of 1972. Our records indicate that
           the Baptist Bible College and School of Theologyfiled such a request but
           there is no record that OCRadequa~elyacknowledgedthis request.
           Wehave recently reviewed the request filed by fonner President Pickering
           (copy enclosed) in "1fch he described several policies practiced at the
           Baptist Bible College and School of Theologyas consistent with the tenets
    i      of the religious organization that controls the institution.   These policies
           wuld violate certain sections of the regulation implementing Title IX (copy
l          enclosed} absent a religious exemption. The fonner president supplied
           information fn his request letter that establishes that the institution is
           controlled by a religious organization and that tenets follo\ed by this
           organization conflict with specific sections of the Title IX regulation.
           Therefore, I am granting the Baptist Bible College and School of Theology
           an exemptionto those sections of the Title IX regulation appropriate to
           the request letter.   The exemption 1s limited to the extent that compliance
           with the Title IX regulation conflicts with the religious tenets followed
           by the institution.   The Baptist e;ble College and School of Theology is
           hereby exemptedfrom the requirements of the following sections of the
           Title IX regulation: 106.21. 106.22. 106.23. 106.31, 106.34, 106.51 and
           106.55. The bases for our decision to grant this exemption are discussed
           in further detail below. The institution's letter also requests exemption
           from§ 106.15 regarding admissions at particular types of institutions.
           The exemptiongranted by this letter to§ 106.21 cnore accurately addresses
           the admissions of students and precludes the necessity for exemption to
            § 106.15.                                     -
            The institution's letter indicates that the Baptist Bible College and
            School of Theology is controlled by the General Association of Regular
            Baptist Churches. The General Association of Regular Baptist Churches and
            the Baptist Bible College and School of Theologypractice the tenets of
            prohibiting womenfran serving as preachers or pastors. The letter states




        EXHIBIT E                •OO MARYLA1'10   AVE.   SW   WA$HINCTOI\/.   DC.   1020:
                                                                                                       3
              Case 6:21-cv-00474-AA     Document 50-5    Filed 08/06/21   Page 4 of 15


             Pagd 2 - Dr. MarieJackson

(            that the S.ptfst Bible College and School of Theology is approved by the
             General Association of Regular Baptist Churches. This relationship between.
             the GeneralAssociation of Regular Baptist Churches and the Baptist Bilile
             College adequately establishes that the Baptist Bible College and School
             of Theology 1s co~trolled by a religious organization as 1s required for
             consideration for exemption under§ 106.12 of the Title IX regulation.
             In the request letter it states that based on religkus tenets womenare not
             pennitted to enroll .fn classes that-prepare students to becOl'lleMinisters of
             religion or to enter upon sme other religious vocation. Also. womenare
             not employedas theological instructors.     Thus. the institution practices
             the fol lowing:
              ~   1. Only inen are admitted to the School of Theology.
                     Based on the above, the Baptist Bible College and School of
                     Theology has requested and is granted by this letter, exemption
                     to§ 106.21: Admission;§ 106.22: Preference fn admission;
                     § 106.23: Recruitment•..

                  2. Only men are admitted to academic programs and courses designed
                     to train preachers, pastors, or theological teachers.
                     Based on the.above, the Baptist Bible :ollege and School of
                     Theology has requested and is granted by this letter, exemption
                     to§ 106.31: Education programs and activities and§ 106.34:
                     Access to course offerings.
                  3•. Employment and classificati-on   of men, exclusively, in areas of
                      th~logical instruction.
                      Based on the above, the Baptist Bible College and School of
                      Theology has requested and 1s granted by thfs letter, exemption
                      to§ 106.51: EJRployment  and§ 106.55: Job Classification and
    --   .
                      Structure.
             This letter should not be construed to grant exemption frcm any section of
             the Title IX regulation not specifically mentioned. In the event that OCR
             receives a caplaint against your institution.ware       obligated to detemine
             initially •ether the·allegations fall within the exeaption here granted.
             Also, 1n tlle unlikely event that a complainant alleges that the practices
             followed by the institution are not based on the religious tenets of the
             controlling organization, OCRis obligated to contact the controlling
             organization to verify those tenets.    If the organization provides an
             interpretation of tenets that has a different practical impact than that
             described by the institution, or ff the organization denies that it controls
             the institution, this exemption will be rescinded.




     EXHIBIT E                                                                            4
                 Case 6:21-cv-00474-AA       Document 50-5   Filed 08/06/21   Page 5 of 15
                           or. Mart ~ckson
    ,. .
             ·. P1ge 3 •
                              -                                       ·....


              I hope this letter r~sponds fully to your-request. I regret the inordinate
              delay fn responding to the original request. tf you have any questions,
              please do not hesitate to contact the Philadelphia Regional Office for
              Civil Rights. The address fs:
                                    DeweyE. Dodds
                                   .Regional Civil Rights Director
                                    Office for Civil Rights, Region Ill
                                    Depart.ent of Education
                                    GatewayBuilding. 6t~ Floor
                                    3535 Market Street
                                                                      ---
                                    Philadelphia, Pennsylvania 19104
                                                         Sincerely.


                                                        ~~
                                                         Assistant Secretary
                                                          for Civil Rights
               Enclosures


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           EXHIBIT E                                                                         5
                   Case 6:21-cv-00474-AA               Document 50-5            Filed 08/06/21   Page 6 of 15
                    .                                  .
's:ieVE.1'-,':-\AD1-\0AD • (,LARKS SUMMIT, PENNSYLVANIA 18411 • TELEPHONE (717) 587-1112           DFI'. MILO THOMPSON. PRESIDENT


                                                                                           Baptist·BibleC Hege
                                                                                                      1r
         October          17,   1988                                                       & Seminary
                                                                                                 ?£~
                                                                                                  llj~
         Assistant
         United
                        Secretary
                   States
         400 Maryland
                                      for Civil
                              Depart•ent
                            Avenue,
                                                   Rights
                                              of Education                                 1/IS~
         Washington,       O.C.    20202
                                         S.W.
                                                                                              °fj~tBu£~
                        RE:     ·Baptist   Bible   College   of Pennsylvania
                                 Clarks   Su ■ •it, Pennsylvania
                                Title    IX Exe ■ ption


         Dear      Sir:

                  Baptist   Bible   College     of Pennsylvania       hereby   claias      an
         exe ■ ption           the require•ents
                              fro ■                   of Title    IX of the Education
         A ■ endaents of     1972 ("Title       IX") as herein      specified,      pursuant      to
         Sections      901 (a)(3)    and 908 of Title        IX and 34 C.P.R.         Section
         106.12(b).        The College     bel.eves    that    it ■ ay in the past         have
         received,      and ■ ay currently       be receiving,      indirect     federal      aid
         within     our understanding       of the Supreme Court decision              in
         Grove City College        L Bell,         465 U.S. 555 (1984).

                  Baptist       Bible    College      ot Pennsylvania              is a regionally
         accredited         Bible     College,      offering        courses       of instruction             in
         the~logy,        religion,       Old and New Testa■ ent and also the
         hu ■ anities, arts           and sciences.          The College             is a non-profit
         corporation          incorporated         under the laws of the Co ■ aonwealth of
         Pennsylvania           and is approved          by the General              Association          of
         Regular      Baptist       Churches,,        Schau ■ burg, Illinois,                 as a Christian
         institution          of higher·     education.           It is exe ■ pt fro ■ federal
         inco ■ e taxation          as a not-for-profit               religious         educational
         institution          under Section         501(c)(3)        of the Internal               Revenue      Code.
         Its property,           business       and affairs         are controlled              by a Board of
         Trustees       all of who ■ •ust           be ■ e ■ bers of local,               autono ■ ous Baptist
         churches       which adhere          to and practice             the historic           religious
         doctrines        and tenets        of the Christian              faith.        Each Trustee           and
         each ■ e ■ ber of the College's                 faculty.         staff      of e ■ ployees and its
         student      body are required             to espouse          a personal          belief      in the
         religious        tenets      of the Christian            faith.         The catalogs           and other
         official       publications         of the college             contain        explicit       statements
         that     the college         is co ■■ itted to the doctrines                     of the Christian
         religion       and maintains           its religious           tradition,          standards        and
         beliefs      in accordance          with Baptist           distinctives.




          EXHIBIT E                                                                                                     6
          Case 6:21-cv-00474-AA             Document 50-5          Filed 08/06/21        Page 7 of 15




Assistant           Secretary      for    Civil     Rights
October       17,      1988
Page 2




         The College      adheres        to biblical            tenets        for- ■ atters of faith
and practice,        following         its    religious           tradition        and Baptist
distinctives.          It specifically              utilizes          a religious          preference          in
eaployaent      practices        to assure          that      faculty         and staff       adhere      to a
common religious          understanding             of the religious               beliefs,        values
and purposes.that           guide      the educational                ■ ission of the           College     ..
Accordingly,       the personnel            of the College                accept     religious
standards     in aatters         of ■ oral behavior,                  dispute      and grievance
resolution      and disciplinary              ■ atters, as well                 as the performance
of any religious          role     or office          in which          gender     distinctions           ■ ay
be required.         The Holy Bible             sets      forth       the standards           for
Christian     ■ orality and          practice         in far        too ■ any places            and forms
to be identified          comprehensively               in this         letter;      however,        see for
exa ■ ple, Ro ■ ans 1:18-32;             Galatians          5:16-24         and Ephesians          4:17-
5:6.

         The College          seeks      to ■ aintain its           religious        freedo ■ to ■ ake
certain       gender      distinctions            in aatters        of ■ oral behavior,
marriage       and residential               living      environ ■ ents and          standards.        It
specifically           holds      religious         standards        for.personnel          and students
in ■ atters conducive                 to the fostering            of proper        ■ oral behavior
and the discourage ■ent of inappropriate                               behavior      as understood        by
the.religious           tradition          and tenets         accepted        by the College.          Such
standards        include        ■ atters relating             to the expression             of hu ■ an
sexuality,         living       environ ■ ents, respect                for    the institution        of
marriage,        language         and attire.

        The College    adjudicates         ■ atters of ■ oral behavior,           including
the ■ isuse of hu ■ an sexuality,             in accordance       with Scriptural
teaching    about   ■ oral behavior.            See,  for   exa ■ ple, Matthew       18:
15-20    and I Corinthians         5:1-13.

        The College         has previously         co ■■ unicated with       the Department
of Education          concerning      a religious        exe ■ ption from certain            of the
provisions        of Title        IX.  However,       in light    of the passage           of the
Civil     Rights      Restoration      Act of 1987 and the college's                 current
understanding           of the provisions          of Title     IX and the regulations
thereunder        that    are applicable         to the college,        this    additional
exemption        notice     is being    submitted        at this    time in order          to
clarify      the scope        of the exe ■ ption clai ■ ed by the College.

        The College      hereby          claims   exemption     from    the application                    of
the    following    provisions             of the Title     IX regulations,        to the
extent      that they    conflict           with  the College's       religious      tenets                and




 EXHIBIT E                                                                                                       7
             Case 6:21-cv-00474-AA           Document 50-5          Filed 08/06/21       Page 8 of 15




Assistant            Secretary     for   Civil      Rights
October        17,      1988
Page 3




traditions          as described          above:       34 C;P.R.        Sectiois        106.21(c),
106.40,       106.57       and 106.60          (treat ■ ent based          on ■ arital and
parental        status).        Section        106.34      (access      to course         offerings       in
■ inisterial or            pre- ■ inisterial progra ■ s liaited                      by religious
tenets      to st~dents           of one gender)             and Section         106.5k       (e ■ ploy ■ ent
opportunities            for    religious         offices        or positions          li ■ ited by
religious         tenets      to one gender,             such     as,   chaplains).           together
with     any application              of Sections          106.38     (e ■ ploy ■ ent assistance             to
students),          106.53      (recruit ■ ent), 106.55               (job     classification           and
structure)          or 106.59         (advertising)            that   relates        to eaploy ■ ent
opportunities            that     are    li ■ ited to       one gender         by the religious
beliefs       of the College.

         There    are a number            of issues          central       to the religious
beliefs      and practices            of the College               that    aay not have         been
discussed        ~n this       letter       because        of our understanding               that     no
specific       exemption         is required.              Por exaaple,          the College
believes       that    Title       IX, as aaended              by the Civil         Rights
Restoration         Act of 1987,            shall     not be construed              to require         the
College      to provide          or ~ay tor          any benefit           or service,        including
the use of facilities,                  related        to an abortion.              Additionally,
pursuant       to 34 C.F.R.           Section        106.lS(d),          the provisions           of
Sections       106.16       through       106.23,        inclusive,          do not apply         to the
college      because        it   is a private            institution          of undergraduate
higher      education.           Finally,         the college           understands        that     Sections
106.32      and 106.33         perait       the college            to provide       separate,
although       substantially            coaparable,            housing,       bathroo ■. locker            room
and similar         facilities          for    ■ en and        woaen.

        The   College         generally         opposes      gender-based           discri ■ ination
and.affir ■ s       its     intention         to co ■ ply with          the provisions            of Title
IX and the regulations                   thereunder        except       to the extent           that    such
compliance         would cause           the College         to violate         its    religious
tenets     and traditions.                 The College         specifically           clai ■ s its      right
to exercise         a religious            preference        in its       e ■ ployaent decisions,
pursuant       to Section          702 of Title           VII of the Civil             Rights       Act ·or
1964 and the decision                  of the Supreme           Court       in Corporation           of the
Presiding        Bishop       Y..: A ■ os,      107 S. Ct.        2862 (1987).             In seeking         to
provide      equal       employ ■ ent opportunities                 for ■ en and women, the
College      shall       not under         any circumstances              waive     or be deemed          to
have waived          its    primary        requirement         of hiring        only     persons       whose
religious        beliefs        and practice          are    consistent         with     the Christian
tenets.      principles           and traditions           accepted         by the College           and the
General      Association           of Regular         Baptist       Churches.




  EXHIBIT E                                                                                                        8
            Case 6:21-cv-00474-AA       Document 50-5        Filed 08/06/21     Page 9 of 15




Assistant           Secretary   for   Civil    Rights
October       17,      1988
Page 4




         In the event            of future    a•end ■ ents to      Ti tl.e-IX      or the
regulations            thereunder,        or change~-  i~ the application               thereof    or
the facts          surrounding        the operation      of the College           and the burden
of such        statute        and regulations       on the college's           ability        to
pursue       its    religious       ■ ission, the     College      reserves       its     right  to
clai ■ an a ■ e~d ■ ent to its              exe ■ ption or an additionar               exe ■ ption in
order      to fully         protect     the religious      tenets,      practices         and
traditions          of the College.

        Thank you for your assistance          and for your  pro ■ pt
consideration        of this   letter.     If you have any questions     or
require      any further     infor ■ ation, please   contact the undersigned
at the College.


                                              Very   truly    yours.
                                               ~        .$)..,.,,.....,f.
                                              Milo E.Tho ■ pson, Jr.
                                              President


MET:bw




 EXHIBIT E                                                                                              9
       Case 6:21-cv-00474-AA       Document 50-5         Filed 08/06/21   Page 10 of 15

                           U.S. DEPARTMENT OF EDUCATION
                             3535 MARKET STREET, ROOM 6300
                 •   I
                         PHILADELPHIA, PENNSYLVANIA 19104-3326



                                                                                        REGION Ill.
OFFICE FOR
CIVIL RIGHTS

                                           NOV10 1S88

      Dr. Milo E. Thompson, Jr.
      President
      Baptist   Bible College and Seminary
      538 Venard Road
      Clarks Summit, Pennsylvania    18411

      Dear Dr. Thompson:

      The Office for Civil Rights (OCR), U.S. Department of Education           (the
      Department)   has received    your October 17, 1988, request    for religious
      exemptions from Title      IX of the Education Amendments of 19i2.(Title        IX)
      and various   provisions    of the Department's   Title IX implementing
      regulation  at 34 C.F.R. Part 106. Ye have reviewed your request            and
      have determined    that we need further    information  to make a decision      to
      grant an exemption.

      Although your request      letter    included general      statements    of religious
      tenets,  and information      regarding     the Title IX regulation       at 34 C.F.R.
      Sections  106.2l(c),    106.40, 106.57, and 106.60 regarding             marital   and
      parental  status,    it did not state the specific          tenets    or how they
      conflict  with these sections        of the regulation.         If you wish the office
      to make a determination       regarding     a religious    exemption in these areas,
      please provide the information          requested    and return    it to this office.

      Thank you for your cooperation.     If you have any questions,     please do
      not hesitate  to contact Mr. Robert E. Harvey, Directo        Postsecondary




                                                     1-0 J1i
      Education Division   at (215) 596-6804.




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                                               '----Ro~rt A. Smallw~od
                                                    Regional Civil Rights    Directo~
                                                    Region III




EXHIBIT E                                                                                        10
     Case 6:21-cv-00474-AA       Document 50-5         Filed 08/06/21          Page 11 of 15


                  UNITED STATES DEPARTMENT OF EDUCATION
                                   OFFICE FOR CML RIGHTS

                                                                          THE ASSISTANT SECRETARY




Dr. Milo Thompson
President
Baptist Bible College and Seminary
536 Venard Road
Clark Summit, Pennsylvania 18411

Dear Dr. Thompson:

The Office for Civil Rights (OCR) in the U.S. Department of Education has
completed its review of your October 17, 1988, request for religious exemption from
Title IX of the Education Amendments of 1972 (Title IX) as amended, 20 U .S.C.
Sections 1681 et seq., and its implementing regulation 34 C.F.R. Part 106 (copy
enclosed). Your letter of January 26, 1989, provided OCR with the additional
informatioQ- necessary to clarify your request. I apologize for the delay in
responding to your request.

In your letters, you supplied information that establishes that Baptist Bible College
and Seminary (College) is controlled by a religious organization and that the tenets
followed by this organization conflict with specific sections of the Title IX
regulation. You described in your request several policies and practices at the
College as being consistent with the tenets of the religious organization that
controls the College. These policies would violate specific sections of the regulation
implementing Title IX absent a religious exemption. Therefore, I am granting the
College an exemption from several of the sections of the Title IX regulation specified
in your letters. The College is hereby granted an exemption from the requirements
of the following sections of the Title IX regulation: 34 C.F.R. Sections 106.38,
106.40, 106.53, 106.57, 106.59, and 106.60. The exemption is limited to the extent
that compliance with the Title IX regulation conflicts with the religious tenets
followea by the College. The basis of our decision to grant this exemption is
discussed in further detail below.

 Your letter of October 17, 1988, indicates that the College is controlled by its Board
 of Trustees. All trustees must be members of local, autonomous Baptist churches
 which adhere to and practice the historic religious doctrines and tenets of the
 Christian faith. In addition, the College is approved by the General Association of
 Regular Baptist Churches. The trustees, faculty, employees, and students of the
 College are required to espouse a personal belief in the religious tenets of the
 Christian faith. This relationship between the General Association of Regular
 Baptist Churches and the Board of Trustees and the College adequately establishes
 that the College is controlled by a religious organization as is required for
 consideration for exemption under 34 C.F.R. Section 106.12 of the Title IX
 regulation.



                         400 MARYLAND AVE.. S.W. WASHINGTON, D.C. 20202·1100
EXHIBIT E                                                                                      11
     Case 6:21-cv-00474-AA      Document 50-5      Filed 08/06/21   Page 12 of 15



Page 2 - Dr. Milo Thompson

Your letter and accompanying materials indicate that the College maintains its
religious tradition, standards, and beliefs in accordance with Biblical tenets,
following its religious tradition and Baptist distinctives. The College, its students
and employees must adhere to Biblical tenets for matters of faith and practice.
Thus, conduct of staff and students such as cohabitation without marriage, pre-
marital sexual relations, promiscuity outside of marriage, and divorce and marriage
without biblical grounds would violate religious tenets regarding moral behavior,
marriage and residential living environments and standards. In addition, based on
the College's religious tenets and traditions, it provides access to ministerial and
pre-ministerial course offerings and opportunities for certain religious offices and
positions only to members of one gender.
Based upon the information submitted, the College is granted by this letter,
exemption from 34 C.F.R. Sections 106.38 (employment assistance for students);
106.40 (marital and parental status of students); 106.53 (recruitment); 106.57
(marital and parental status of employees); 106.59 (advertising); and 106.60
(pre-employment inquiries).

By letter dated June 18, 1985 (copy enclosed), the Department granted the
College's request for religious exemption from 34 C.F.R. Sections 106.21, 106.22,
106.23, 106.31, and 106.34, as they relate to the College's policy of admitting only
men to its seminary and its classes that prepare students to become ministers of
religion, teachers of theology or to enter upon some other religious vocation; and
34 C.F.R. Sections 106.51 and 106.55, as they relate to the College's policy of
employing and classifying men, exclusively, in areas of theological instruction. Thus,
no additional exemption is required for the College relative to these sections of the
Title IX regulation on the basis of these policies and practices.

 This letter should not be construed to grant exemption from any section of the
 Title IX regulation not specifically mentioned. In the event that OCR receives a
 complaint against your institution, we are obligated to determine initially whether
 the allegations fall within the exemption herein granted. Also, in the unlikely event
 that a complainant alleges that the practices followed by the College are not based
 on the religious tenets of the controlling organizations, OCR is obligated to contact
 the controlling organization to verify those facts. If the organization provides an
 interpretation of the tenets that has a different practical impact than that described
 by the institution, or if the organization denies that it controls the institution, this
 exemption will be rescinded.




EXHIBIT E                                                                             12
     Case 6:21-cv-00474-AA     Document 50-5      Filed 08/06/21   Page 13 of 15



Page 3 - Dr. Milo Thompson

I hope this letter responds to your request. If you have any questions, please do not
hesitate to contact the Philadelphia Regional Office at this address:

                          Dr. Robert A. Smallwood
                          Regional Civil Rights Director
                          U.S. Department of Education
                          Office for Civil Rights, Region III
                          3535 Market Street, Room 6300, 03-2010
                          Philadelphia, Pennsylvania 19104-3326
                          (215) 596-6772.

                                         Sincerely,


                                 --~4u~
                                     1   Michael L. Williams
                                         Assistant Secretary
                                           for Civil Rights

 Enclosures

 cc: Robert A. Smallwood, Regional Civil Rights Director, Region III




EXHIBIT E                                                                          13
      Case 6:21-cv-00474-AA           Document 50-5      Filed 08/06/21     Page 14 of 15


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                                                                    ~                  'ir         I        '¾:.
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                                                                       & Seminary
                                                                                                   :::U·
 Mr. Robert A. Smallwood                                                                           ftl.
 Regional      Civil  Rights Director                                                              o.
                                                                                                   rn
 Region III
 U.S. Department
 3535 Market Street
                       or Education                                                                -<
 Room 6300
                                                                                                   m
                                                                                                   c:,
 Philadelphia,       Pennsylvania     19104-3326

    RE: Baptist   Bible College              of Pennsylvania
        Title   IX Exemption

 Dear Mr. Smallwood:

         I received      your letter     or November 10, 1988, re~pond1ng: t~
 this College's        letter   dated October         17, 1988~ claiming     a                          _
 religious     exemption      rro■ Title      IX of the Education      Amendment~
 1972 an~ the Department's            Title     IX· implementing   regulat1os    ag                     ·
 C.F.P.    Part 106.        This letter     is written     in response    ~o your
 letter    dated Novembe~ 10, 1988~ and will provide                 you with the
 information      that· you. requested        in it.

         As pointed   out in th• College's         letter     dated October     17,
 f988, claiming- a religtoua        exemption,       the College     adheres    to
 biblic_al   tenets· for-· matters or faith        and practice      and does this
 in al~ matters      or ra~tb an~ practice.            Its religious     tenets
 relevant    to marital:•••     parental    status       are, therefore,
 biblically     derived~    .
        In order        to   ltve·lf-ltbin        commonly received          Christian       meanings
 or human relationabipa~and                    provide     a moral and biblical            ethos for
 the College         commuDit~~ moral standards                  are maintained         consistent
 with the      R.JMf_.5•·
 p racti.ce: ...··      :        ·
                                            Bible and the religious
                                          its moral standards.
                                                                               custom and
                                                                           The College        main-
 tains     tb               ....     '.able to deal,         on religious      grounds,       with
 those me·              ~:. · 'eollege            community who, for whatever                reasons,
                       ~~-R~        ·   unrepentant        in matters      or moral conduct
                                     <detrimental        to themselves,         their    fam.ilies
 and otherr.        ~·wft•rif"; lb willful            conduct      expressly      violates
 biblical       norma [e.«.,           cohabitation        without     marriage      (see,     e.g.,
 Exodus 20:14;           I Corinthians          5:1-11,      Hebrews 13:4);        pre-marital
 sexual      relations         (se~, e.g.,        Genesis     2:24,    Deuteronomy        22:20-24,
 I Corinthians           6:13~20,       Galatians       5:16-21,      I Thessalonians          4:3-8,
 Hebrews 13;4);           homosexual         behavior      (see,    e.g.,    Genesis      18-19,
 Leviticus         18:22,     20:13,      Romans 1:24-27,          I Corinthians        6:9-11),




EXHIBIT E                                                                                        14
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               Case 6:21-cv-00474-AA                  Document 50-5     Filed 08/06/21   Page 15 of 15                    '
                                                                                                               as;:411




  promiscuous       condutt      outside     or wedlock (see, e.g., Leviticus
  18:6-24,     Proverbs      5:1-23,      I Corinthians         5:1-11,     6:13-20,
  Galatians      5:16-21~      Hebrewa 13:4)J         or marriap         or divorce        without
  biblical     grounds      (see, e.g.,       Gene-sis     2:24,    Leviticus       18,
  Malachi     2:13-16,     Matthew       l9:3-i2,     Luke 16:18)],         and offending
  persons     cannot    be reconciled         to biblical        standa~ds~       the College
  reserves     its right       to exercise        its discretion         for the remedy
  appropriate       to the circumstances             consistent       with ,its     religious
  beliefs     and practices,          as described       above.

          I trust    that   this   letter.  provides      you with the information
  which you requested.           Ir you have any questions           or desire
  additional      information,       please  feel    free   to contact   me at the
  College.

                                                             Very
                                                                    ~~
                                                               11;,.1.
                                                                      truly   yours,                      J-
                                                             Hilo Thompson,        Jr.
                                                             President


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